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           PSJ3
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Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 2 of 78. PageID #: 388854
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 3 of 78. PageID #: 388855
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 4 of 78. PageID #: 388856
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 5 of 78. PageID #: 388857
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 6 of 78. PageID #: 388858
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 7 of 78. PageID #: 388859
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 8 of 78. PageID #: 388860
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 9 of 78. PageID #: 388861
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 10 of 78. PageID #: 388862
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 11 of 78. PageID #: 388863
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 12 of 78. PageID #: 388864
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 13 of 78. PageID #: 388865
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 14 of 78. PageID #: 388866
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 15 of 78. PageID #: 388867
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 16 of 78. PageID #: 388868
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 17 of 78. PageID #: 388869
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 18 of 78. PageID #: 388870
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 19 of 78. PageID #: 388871
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 20 of 78. PageID #: 388872
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 21 of 78. PageID #: 388873
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 22 of 78. PageID #: 388874
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 23 of 78. PageID #: 388875
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 24 of 78. PageID #: 388876
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 25 of 78. PageID #: 388877
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 26 of 78. PageID #: 388878
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 27 of 78. PageID #: 388879
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 28 of 78. PageID #: 388880
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 29 of 78. PageID #: 388881
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 30 of 78. PageID #: 388882
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 31 of 78. PageID #: 388883
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 32 of 78. PageID #: 388884
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 33 of 78. PageID #: 388885
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 34 of 78. PageID #: 388886
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 35 of 78. PageID #: 388887
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 36 of 78. PageID #: 388888
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 37 of 78. PageID #: 388889
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 38 of 78. PageID #: 388890
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 39 of 78. PageID #: 388891
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 40 of 78. PageID #: 388892
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 41 of 78. PageID #: 388893
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 42 of 78. PageID #: 388894
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 43 of 78. PageID #: 388895
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 44 of 78. PageID #: 388896
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 45 of 78. PageID #: 388897
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 46 of 78. PageID #: 388898
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 47 of 78. PageID #: 388899
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 48 of 78. PageID #: 388900
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 49 of 78. PageID #: 388901
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 50 of 78. PageID #: 388902
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 51 of 78. PageID #: 388903
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 52 of 78. PageID #: 388904
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 53 of 78. PageID #: 388905
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 54 of 78. PageID #: 388906
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 55 of 78. PageID #: 388907
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 56 of 78. PageID #: 388908
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 57 of 78. PageID #: 388909
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 58 of 78. PageID #: 388910
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 59 of 78. PageID #: 388911
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 60 of 78. PageID #: 388912
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 61 of 78. PageID #: 388913
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 62 of 78. PageID #: 388914
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 63 of 78. PageID #: 388915
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 64 of 78. PageID #: 388916
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 65 of 78. PageID #: 388917
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 66 of 78. PageID #: 388918
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 67 of 78. PageID #: 388919
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 68 of 78. PageID #: 388920
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 69 of 78. PageID #: 388921
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 70 of 78. PageID #: 388922
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 71 of 78. PageID #: 388923
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 72 of 78. PageID #: 388924
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 73 of 78. PageID #: 388925
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 74 of 78. PageID #: 388926
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 75 of 78. PageID #: 388927
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 76 of 78. PageID #: 388928
Case: 1:17-md-02804-DAP Doc #: 2375-3 Filed: 08/14/19 77 of 78. PageID #: 388929
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